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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
  MKM/TH                                             271 Cadman Plaza East
                                                     Brooklyn, New York 11201


                                                     June 21, 2023

  By ECF

  The Honorable Sanket J. Bulsara
  United States Magistrate Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                Re:     LoCurto v. United States, 10-CV-4589 (NGG)
                        Related to United States v. LoCurto, 03-CR-1382 (NGG)

  Dear Magistrate Judge Bulsara:

                 The government respectfully submits this joint letter on behalf of the parties in
  response to the Court’s June 14, 2023 order to request that the Court set a date for the
  evidentiary hearing in this case. Consistent with that order, the parties will attempt to come
  to an agreement on a proposed stipulation drafted by the government, see D.E. 172, in an
  effort to narrow the scope of the hearing. Counsel for defendant-petitioner Stephen LoCurto
  has also indicated that he intends to file a motion regarding certain privileged materials, see
  D.E. 113, 122.

                 The parties have conferred and are available for a hearing between September
  13 - 15 or September 20 - 22, 2023. The parties are available for a pre-hearing status
  conference at the Court’s convenience.

                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                              By:     /s/
                                                     M. Kristin Mace
                                                     Tanya Hajjar
                                                     Assistant U.S. Attorneys
                                                     (718) 254-7000

  cc:    Counsel for the defendant-petitioner (by ECF)
